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                                                                             3/18/2025
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                        24-cv-05454 (ER) (BCM)
 In Re Kobalt Music Publishing America, Inc.            24-cv-05455 (JAV) (BCM)
 Coordinated Copyright Cases                            24-cv-05456 (AKH)(BCM)
                                                        24-cv-05457 (JGK) (BCM)
                                                        24-cv-05458 (VM) (BCM)
                                                        24-cv-05459 (JAV) (BCM)
                                                        24-cv-05460 (LJL) (BCM)
                                                        24-cv-05462 (GHW)(BCM)
        This filing relates to:                         24-cv-05463 (JLR) (BCM)
        All Coordinated Cases                           24-cv-05464 (JGK) (BCM)
                                                        24-cv-05465 (GHW)(BCM)
                                                        24-cv-05466 (JHR) (BCM)
                                                        ORDER

BARBARA MOSES, United States Magistrate Judge.

       The Court is in receipt of (i) defendants' letter-motion to seal, dated March 3, 2025,

accompanied by excerpts from the deposition of nonparty witness Christopher Woods (Woods

Deposition Excerpts) filed under seal; (ii) non-party TuneSat LLC's letter, dated March 10, 2025,

explaining the need to seal the unredacted Woods Deposition Excerpts, accompanied by the

declaration of Mr. Woods; and (iii) the Woods Deposition Excerpts with TuneSat's proposed

redactions highlighted, filed under seal. Defendants' motion to seal is GRANTED to the extent

that the unredacted Woods Deposition Excerpts may remain under seal. The Court approves

TuneSat's proposed redactions, and directs defendants to file the Woods Deposition Excerpts on

the public docket with those approved redactions.

       The Clerk of Court is respectfully directed to close the following:

       1. Dkt. 50 in 24-cv-05454 (ER) (BCM)

       2. Dkt. 43 in 24-cv-05455 (JAV) (BCM)

       3. Dkt. 40 in 24-cv-05456 (AKH)(BCM)

       4. Dkt. 44 in 24-cv-05457 (JGK) (BCM)
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      5. Dkt. 45 in 24-cv-05458 (VM) (BCM)

      6. Dkt. 42 in 24-cv-05459 (JAV) (BCM)

      7. Dkt. 41 in 24-cv-05460 (LJL) (BCM)

      8. Dkt. 46 in 24-cv-05462 (GHW)(BCM)

      9. Dkt. 53 in 24-cv-05463 (JLR) (BCM)

      10. Dkt. 48 in 24-cv-05464 (JGK) (BCM)

      11. Dkt. 50 in 24-cv-05465 (GHW)(BCM)

      12. Dkt. 54 in 24-cv-05466 (JHR) (BCM)

Dated: New York, New York               SO ORDERED.
       March 18, 2025


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                                        BARBARA MOSES
                                        United States Magistrate Judge




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